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                                            UNITED STATES DISTRICT COURT
                                           CENTRAL DISTRICT OF CALIFORNIA
                                                        CIVIL MINUTES - TRIAL

 Case No.         CV 10-2034-CBM(PLAx)                                                                   Date       MARCH 23, 2017
 Title:           GLOBEFILL INCORPORATED v. ELEMENTS SPIRITS, INC., ET AL.,

 Present: The Honorable               CONSUELO B. MARSHALL, UNITED STATES DISTRICT COURT JUDGE PRESIDING
                           Yolanda Skipper                                                             Sheri Kleeger
                            Deputy Clerk                                                   Court Reporter/Recorder, Tape No.


                Attorneys Present for Plaintiff(s):                                          Attorneys Present for Defendants:
                  David H. Berg/Michael Fay                                                   Jon B. Miller/Rebecca Rettig
                 Hernan Vera/ Zenobia Bivens                                                 Thomas Rafferty/Keith Hummel
                        Jenny H. Kim                                                                Nathan Denning

                              Day Court Trial     5TH (held and continued)          Day Jury Trial
      The Jury is impaneled and sworn.
      Opening statements made by
      Witnesses called, sworn and
 X    testified.                                  X   Exhibits identified.    X     Exhibits admitted.

      Plaintiff(s) rest.                              Defendant(s) rest.
      Closing arguments made by                       plaintiff(s)                  defendant(s).                Court instructs jury.
      Bailiff(s) sworn.                               Jury retires to deliberate.                                Jury resumes deliberations.
      Jury Verdict in favor of                        plaintiff(s) is read and filed           defendant(s) is read and filed.
      Jury polled.                                    Polling waived.
      Filed Witness & Exhibit Lists                   Filed jury notes.             Filed jury instructions.
      Judgment by Court for                                                         plaintiff(s)                 defendant(s).
      Findings, Conclusions of Law & Judgment to be prepared by                     plaintiff(s)                 defendant(s).
      Case submitted.                Briefs to be filed by
      Motion to dismiss by                                                    is          granted.             denied.           submitted.
      Motion for mistrial by                                                  is          granted.             denied.           submitted.
      Motion for Judgment/Directed Verdict by                                 is          granted.             denied.           submitted.
      Clerk reviewed admitted exhibits with counsel to be submitted to the Jury/Court for deliberation/findings.
      Counsel stipulate to the return of exhibits upon the conclusion of trial. Exhibit Release Form prepared and filed.
      Trial subpoenaed documents returned to subpoenaing party.
 X    Case continued to        MARCH 24, 2017 AT 8:00 A.M.                              for further trial/further jury deliberation.

      Other:

                                                                                                                  8         :       20
                                                                             Initials of Deputy Clerk      YS
cc: all parties of record


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